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 EXHIBIT 63
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Hunters Capital, LLC v. City of Seattle                                                                          Mayor Jenny A. Durkan
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            UNITED STATES DISTRICT COURT                             1          DEPOSITION OF JENNY A. DURKAN
            WESTERN DISTRICT OF WASHINGTON                           2             EXAMINATION INDEX
                 AT SEATTLE                                          3   EXAMINATION BY:                 PAGE
      ______________________________________________________         4   Mr. Weaver                    6
                                                                     5
                                                                     6                EXHIBIT INDEX
      HUNTERS CAPITAL, LLC, et al., )                                7   EXHIBITS FOR IDENTIFICATION                         PAGE
                         )                                           8   Exhibit 1 Executive Order 2020-08;             48
              Plaintiff,    )                                                   SEA_00045264-268
                         )                                           9
            vs.            ) No. 20-cv-00983                             Exhibit 2 Email to multiple recipients from     64
                         )                                          10          Mayor Durkan dated 6/20/2020;
      CITY OF SEATTLE,              )                                           SEA_00125617
                                                                    11
                         )
                                                                         Exhibit 3 Email chain; SEA_00058827              102
              Defendant.       )                                    12
      ______________________________________________________             Exhibit 4 Email chain and attachments;          110
                                                                    13          SEA_00102554-565
           VIDEOTAPED VIDEOCONFERENCE DEPOSITION                    14   Exhibit 5 Email to multiple recipients from    129
                                                                                Mayor Durkan dated 6/21/2020;
                UPON ORAL EXAMINATION OF                            15          SEA_00040208
                                                                    16   Exhibit 6 Spreadsheet containing text          132
              MAYOR JENNY A. DURKAN                                             messages
                                                                    17
      ______________________________________________________
                                                                         Exhibit 7 "2 PM Call Notes & Map";             153
                                                                    18          SEA_00002472-474
                                                                    19   Exhibit 8 "11am Update - E Precinct";          154
                 Seattle, Washington                                            SEA_00028170-171
                                                                    20
                                                                         Exhibit 9 Not introduced
        (All participants appeared via videoconference.)            21
                                                                         Exhibit 10 Photo of tweets               164
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      DATE TAKEN: DECEMBER 8, 2021                                       Exhibit 13 Email chain; SEA_00028176-177             189
      REPORTED BY: CINDY M. KOCH, RPR, CRR, CCR #2357               25


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  1             APPEARANCES                                          1                  EXHIBIT INDEX (Continuing)
  2   FOR PLAINTIFF:
  3           TYLER S. WEAVER                                        2      EXHIBITS FOR IDENTIFICATION                              PAGE
              GABRIEL REILLY-BATES                                   3      Exhibit 14 Email chain; SEA_00140722-728                  208
  4           Calfo Eakes LLP
              1301 Second Avenue                                     4      Exhibit 15 Email to Derek Broughten from                221
  5           Suite 2800                                                           Mayor Durkan dated 6/19/2020;
              Seattle, WA 98101-3808
  6           206.407.2237                                           5             SEA-PDR_011629 - 631
              tylerw@calfoeakes.com                                  6
  7           gaber@calfoeakes.com
  8                                                                  7
      FOR DEFENDANT:                                                 8
  9
              ARTHUR W. HARRIGAN, JR.                                9
 10           SHANE P. CRAMER                                       10
              KELLIE MCDONALD, paralegal
 11           Harrigan Leyh Farmer & Thomsen LLP                    11
              999 Third Avenue
 12           Suite 4400
                                                                    12
              Seattle, WA 98104                                     13
 13           206.623.1700
              arthurh@harriganleyh.com
                                                                    14
 14           shanec@harriganleyh.com                               15
 15           JOSEPH G. GROSHONG
              Seattle City Attorney's Office
                                                                    16
 16           701 5th Avenue                                        17
              Suite 2050
 17           Seattle, WA 98104-7095                                18
              206.684.8200                                          19
 18           joseph.groshong@seattle.gov
 19                                                                 20
      ALSO PRESENT: MICHAEL TAKOS, videographer                     21
 20          Buell Realtime Reporting, LLC
 21                                                                 22
                 * * * * *                                          23
 22
 23                                                                 24
 24                                                                 25
 25



                                                                                                                   1 (Pages 1 to 4)
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  1    that was an ongoing process in order to get from where      1   okay, guys, where are we? When can we get this done?
  2    we were in a very dynamic situation to the point where      2   We would have those conversations. But truly it
  3    we actually could be successful in doing what we did on     3   required the Seattle Police Department to be at a place
  4    July 1st.                                                   4   where they felt that they could have that operation
  5        Q. So when you say you were briefed on where we         5   successfully, given what was really happening on the
  6    were, are you talking about the situation on the ground,    6   ground.
  7    or are you talking about plans to clear the area out?       7          And that meant de-escalating it, getting it,
  8        A. Those are the same thing. You couldn't clear         8   you know, in a more -- smaller profile, and having a
  9    the area without addressing what was happening on the       9   place where then Seattle police had sufficient
 10    ground. And I think it was pretty clear that in            10   resources, sufficient training, and sufficient numbers
 11    weighing all of these public interests, that, you know,    11   that they thought they would go in and also train with
 12    Chief Best would be the best person to tell you this,      12   Seattle Department of Transportation and others who had
 13    but it was their assessment at the time that it would      13   to bring in vehicles and -- and moving equipment and
 14    not be successful for an operation to occur that Seattle   14   dozens of Parks employees.
 15    Police Department would be the front line for, because     15          All of this was really an extraordinarily
 16    every time Seattle police would respond in and around      16   complicated operation, and it took time for them to plan
 17    that area, it could escalate because these were protests   17   it, but there was no time that either Chief Best or
 18    against police action.                                     18   myself wasn't thinking about, how do we make sure and
 19           And so we were using all of the other actions       19   how do we return that area safely to the people and
 20    that the City departments were doing to de-escalate the    20   residents of Capitol Hill.
 21    situation, to try to get it calmed down, and then to       21       Q. Prior to June 20th, did you ask for a written
 22    reduce the profile of it enough that we actually could     22   plan from any department on how to clear out the CHOP?
 23    have a successful operation to be led by the Seattle       23        A. It would not have been a normal thing for me to
 24    Police Department.                                         24   get a written plan. We would have a -- ongoing
 25           The department -- the operation itself was very     25   discussions and briefings. You would have the


                                                    Page 62                                                          Page 64
  1    complex and required, you know, I think, hundreds of        1   departments working together, and there's probably
  2    officers who had to be specifically trained on the new      2   writings that describe -- and emails back and forth
  3    orders that Judge Jones gave. They had to do it over        3   maybe that describe who's doing what when. But it's --
  4    time. They then had to work with the other City             4   it's not like they would deliver me a, here's our plan
  5    departments to determine who would go in where, and what    5   on what we're going to do.
  6    they would do.                                              6          So that -- that would not be how we would
  7           And so that kind of operation doesn't happen         7   normally do things, and it isn't what happened here.
  8    overnight, and it has to have on the ground the             8   You know, at the end of the day, this could only occur
  9    circumstances that can allow them to be successful.         9   when the Seattle Police Department felt they could do it
 10        Q. At any time prior to June 20, 2020, do you          10   safely, and that required us, as a City, to take a
 11    recall demanding to see from anybody, any department,      11   number of steps to get to that place.
 12    any executive, a plan to clear out the CHOP?               12             (Exhibit No. 2 marked.)
 13        A. So on a -- again, and I -- and maybe I'm not        13   BY MR. WEAVER:
 14    being clear on this. From the very first, from June 8th    14       Q. Okay. I've dropped another exhibit into the
 15    on, the discussions were centered upon, how do we do the   15   chat, which we've marked as Exhibit 2.
 16    things that I just talked about, balance those public      16          Go ahead and take a minute, see if you're
 17    interests, but de-escalate the area enough, reduce it in   17   familiar with it.
 18    profile so that we could have a successful operation       18        A. I am. And this is -- this -- again, this
 19    that the police would have to participate in and lead.     19   confirms what I was saying before. Oh, sorry. I'll
 20           And that, over time, required other departments     20   wait for the questions.
 21    to take the lead: Seattle Department of Transportation,    21       Q. Okay. So this is an email that you wrote on
 22    Seattle Public Utilities, the Parks Department, and the    22   the morning of June 20, 2020; is that right?
 23    like.                                                      23        A. That's correct.
 24           And so there was an ongoing discussion of that.     24       Q. Okay. And you sent it to Chief Scoggins and
 25    And so yes, on a regular basis, you're asking me, like,    25   Chief Best; is that right?


                                                                                             16 (Pages 61 to 64)
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  1    to be briefed on what those plans would be. They would      1   part of that operation had to be specially trained on
  2    not typically give me, here's our written protocols.        2   that order to make sure they knew what the parameters
  3    Those may come at various times. But it was to be a         3   were. They would have to go off-site and schedule
  4    high-level briefing. Are we ready? What's the --            4   hundreds of officers on what the operation would look
  5    what's it going to look like? What resources do you         5   like, who would do what role.
  6    need? When can we do this safely?                           6          They then had to communicate with Seattle
  7          We knew, even from June 20th, that, you know,         7   Department of Transportation as to what equipment they
  8    it confirmed that, you know, police coming into the area    8   were going to bring in, how do they remove all barriers,
  9    could escalate it. So we had to factor in, how do we        9   talk to the Parks Department.
 10    make sure that we have a setting that could be as          10          We had dozens of Parks people who had to come
 11    de-escalated as possible, so that the police could         11   in and restore the area. We had to have outreach
 12    successfully do what they needed to do.                    12   workers from our Human Services Department to meet with
 13          And that took a period of, you know, after           13   the homeless people to try to get them services.
 14    June 20th, and the planning, and -- and the assessment     14          So it required an extensive amount of planning.
 15    by the police on when they would have the numbers, what    15   So they would give me the assessment of here's all the
 16    the plan would be, how they would do it, and how all the   16   things we're going to have to do as a City in order to
 17    other City departments could come.                         17   be successful, in order to balance those competing
 18          It really required us, as a City, to take all        18   interests we've already talked about, ensure the right
 19    those other steps to de-escalate things, see if we get     19   to protest and protect their safety, protect the safety
 20    people to leave voluntarily, as many as possibly we        20   of the residents and businesses around Capitol Hill, and
 21    could, to take the homeless people there and get them      21   make sure that we could then also successfully have the
 22    into shelter.                                              22   Seattle Police Department lead an operation.
 23          Each of those steps had the same goal, and that      23          And they did, on July 1st, in the early morning
 24    goal was really to de-escalate it, to minimize the         24   hours, because of the work we'd done before, the police
 25    number of people there, and to get to a place where we     25   department was able -- able to go in, in large numbers,


                                                     Page 70                                                         Page 72
  1    could have a safe operation led by the Seattle Police       1   and have that very successful operation.
  2    Department, but supported by all those other                2       Q. Do you know when the homeless services were
  3    departments, so that we could clear that area, restore      3   first provided to try to get people to move out of the
  4    the park, and return it for the enjoyment of the whole      4   park?
  5    community.                                                  5       A. I don't -- that area, Cal Anderson Park, has
  6       Q. So in this briefing on June 20th, what                6   had homeless services probably for over a decade. And
  7    operational plans did you hear about from your executive    7   so there was never a time that the City wasn't in and
  8    team?                                                       8   around, working in Cal Anderson Park.
  9        A. I would have to -- I don't know whether the          9          But obviously, as part of what I said before
 10    briefing went forward that day, but generally what         10   is, you know, really to try to de-escalate the
 11    the -- you know, again, it changed over time, but the --   11   situation, make sure that we got things calmed down, but
 12    my recollection is, the general assessment was that        12   then try to get people out voluntarily, for the people
 13    the -- we needed to have a plan where the police felt      13   who were truly experiencing homelessness, then to be
 14    they operationally could lead a -- all of the teams, the   14   able to provide services and shelter for them.
 15    City teams, to successfully move people from the area.     15          And, you know, it was complicated also by the
 16           And that -- I think, if anything, the events of     16   fact, you know, you asked about the homeless, is, you
 17    June 20th and the reception the police got showed that     17   know, we're in the middle of the global pandemic. We
 18    we had to be really, really thoughtful about that, and     18   had to take all of the existing homeless shelters that
 19    had to have few enough people in the park, reduce the      19   we had, and basically what we call de-intensify them.
 20    profile, and have -- for that to be successful.            20   So we'd have half as many people because we needed
 21           You have to remember too -- I know you know,        21   social distancing.
 22    Mr. Weaver, but Judge Jones had issued an order            22          We had no shelter space left in the city of
 23    regulating how police could respond to what were           23   Seattle. On any night there may be five or ten. So we
 24    protesters and what tools could be used.                   24   had to first create the space and try to work with our
 25           So each of the police officers who would be         25   providers to actually start making space so that we


                                                                                             18 (Pages 69 to 72)
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  1           Regularly that would include Chief Best and          1   can recall. One was shortly after the -- the area was
  2    Chief Scoggins, but really, really important we thought     2   established, I went and met with protesters and to see
  3    that there would be this information going to the public    3   what was happening. I think that was maybe the 8th or
  4    on where we were, what we were doing, and why we were       4   9th.
  5    doing it.                                                   5          I had a subsequent meeting, and actually there
  6         Q. Why didn't you say, in any of those previous        6   may have been an additional because I was up there at
  7    press events, that it was time for people to go home?       7   least twice, meeting with businesses and residents, and
  8         A. I'd have to look at all the previous ones. I        8   walking and talking to businesses and residents about
  9    may have said things like that, or what our expectations    9   what their concerns were and what the City could do to
 10    were. But again, it was an evolutionary process. You       10   address them.
 11    know, you had thousands of people protesting for Black     11          And then I had another meeting where I was
 12    lives against the police.                                  12   twice in one day at the First AME Church there, which
 13           And it wasn't just here in Seattle. It was in       13   the first meeting was with a number of Black clergy
 14    every major city in America. And we saw in other cities    14   to -- to get their assistance and help and hear their
 15    those protests devolve into nightly violence and           15   views on how we could move forward as a City on a range
 16    conflict, you know, whether it was Portland. They had      16   of issues, but including what was happening right on
 17    shootings in Louisville.                                   17   their doorstep.
 18           I was talking to mayors in Atlanta, Louisville,     18          And then later that day, with some of those
 19    Los Angeles, to compare notes on what were people doing    19   Black ministers, met with some of the people who
 20    and how do we address this. And for us in Seattle, what    20   identified themselves as -- as protest leaders, to see
 21    we really wanted to do, again, was balance those           21   if we could get them to get people to go home. And so
 22    competing interests.                                       22   those were the official meetings.
 23           It was important that people protest the -- the     23          And then I went unofficially a couple times. I
 24    killing of George Floyd. That was part of our national     24   just rode my bike up there, and -- and looked around.
 25    dialogue. But at the same time, in -- in ensuring that     25       Q. On the -- on the unofficial visits where you


                                                     Page 78                                                        Page 80
  1    right to protest, we also had to be realistic about how     1   rode your bike up there, do you recall when those visits
  2    do we make sure that we can provide for the public          2   were made?
  3    safety of those protesters, for the businesses and          3      A. I don't recall the exact dates of them, but
  4    residents, and for all the other residents of Seattle or    4   they obviously were made in that time frame.
  5    other places that may come there.                           5      Q. What did you do on those unofficial visits?
  6           At the same time, we're -- we're, you know,          6      A. I just rode my bike up and then walked around
  7    looking out for the whole city in the middle of a global    7   the area to see what was happening. You know, when I --
  8    pandemic. And so at every step of the way, we were          8   when I come in an official capacity, it -- it, one,
  9    trying to adjust what we're saying, and I was trying to     9   people respond differently, and -- because you're the
 10    address in my press statements where -- where we were at   10   mayor.
 11    that moment in time.                                       11         It also requires that I have security with me,
 12           Once we got to the point that the Seattle           12   which are police officers, which can be a complicating
 13    Police Department thought they knew what they needed to    13   factor, particularly during these events. And so when I
 14    be successful, that meant we needed to have fewer          14   went by myself, I was able to, you know, not have that,
 15    people. So we made a concerted effort to try to reduce     15   and just see for myself what was happening.
 16    the profile and the number of people in and around         16      Q. So what time of day did you go on your
 17    Capitol Hill so we could be successful.                    17   unofficial visits?
 18        Q. How many times did you personally visit CHOP?       18      A. I think it was late afternoon, early evening.
 19        A. If -- between June 8th and July 1st, I think I      19      Q. And what did you see while you were there?
 20    was there maybe four or -- I think four times. It might    20      A. I saw -- you know, that's a broad question. I
 21    have been five.                                            21   rode my bike around all of the parts, went in and out of
 22        Q. How many of those were what I'll call official      22   Cal Anderson, went in a couple of businesses, and -- and
 23    visits, and how many of those were visits that you made    23   so I saw a lot of things.
 24    in a disguise?                                             24      Q. How many tents did you see in Cal Anderson Park
 25        A. I made, I think, three official visits that I       25   on any of your visits?


                                                                                            20 (Pages 77 to 80)
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  1    this ever-increasing conflict between police and            1   BY MR. WEAVER:
  2    protesters. And at the same time, the Seattle Police        2       Q. Okay. I'd like you to look at Exhibit 3, which
  3    Department is under a consent decree, and we know the       3   I just dropped into the chat. This is an email. I know
  4    federal judge has questions about it because the monitor    4   you're not copied on it, but it's dated June 8, 2020, at
  5    is asking us questions about it. And so we had to be        5   10:23 in the morning, from Casey Sixkiller, saying, "I
  6    thinking about what can we do to change those tactics.      6   want to see a plan to remove firearms, ammunition and
  7            And so Chief Best and I, on a regular basis --      7   all evidence from the East Precinct today. That plan
  8    she was looking at operationally how does she accomplish    8   should be capable of being fully executed by 5:00 p.m.
  9    what she needs to do, at the same time kind of              9   today."
 10    de-escalate things.                                        10          Do you see that?
 11            And so they would change how many people they      11       A. I do see that.
 12    had at the line, how far away from the protesters, what    12       Q. Were you involved in -- did you discuss with
 13    kind of barriers they were using. None of those things     13   Mr. Sixkiller getting a plan from the SPD to remove
 14    were successful. And by the 7th, by the time it came       14   firearm, ammunitions, and evidence from the East
 15    again, that was probably one of the highest levels of      15   Precinct on June 8, 2020?
 16    escalation.                                                16       A. No, I don't recall talking to Mr. Sixkiller
 17            And again, tear gas had to be deployed, but the    17   about that. And I -- this is the first I'm seeing this.
 18    decision was made is, we've got to try something new       18   And I don't know -- you'd have to ask him kind of what
 19    because we are now getting to the point where, you know,   19   led to this.
 20    it is -- it is degrading the relationship between -- the   20          But again, I think it's important to note that
 21    public trust between the police and not just protesters,   21   the day before, on the 7th, we had a discussion with
 22    but citywide. It's depleting the officers themselves.      22   Chief Best and with others on kind of what the -- what
 23    And we had to try a different approach.                    23   the options were with regards to changing the dynamic,
 24         Q. Among the things that were decided on as a new     24   including the option of either removing the barriers or
 25    approach, did that include the mayor's office directing    25   the like.


                                                   Page 102                                                        Page 104
  1    the removal of ammunition and evidence from the East        1          One of the -- in that discussion, my
  2    Precinct on June 8th?                                       2   recollection is, is that someone in the command staff
  3         A. No, not at all. In fact, once the decision --       3   with the chief said, you know, if we do that, then we
  4    once we had the discussion -- and in the discussions        4   have to make sure that these other things happen. And
  5    that people had, we had previous to then was that, if       5   that would include removing all those things we talked
  6    there was -- if the decision was made by the department     6   about before.
  7    that they would leave the precinct at all, or were          7          Obviously, if you're going to -- if you think
  8    forced to leave the precinct because it became overrun,     8   either the precinct could burn or you think the
  9    what would be the most safe course?                         9   protesters might overrun it, you can't have it have
 10           And obviously you would have to remove a range      10   guns, ammunition, confidential information, and the
 11    of things: guns, ammunition, confidential information,     11   like.
 12    information related to sources and informants, personal    12          And remember, you know, place yourself in time.
 13    property, computers, and the like.                         13   It's hard to do. But we saw a police precinct burn in
 14           And so there was, you know, the -- again, it's      14   Minneapolis. We saw other police precincts, you know,
 15    kind of like -- not to the same extent because clearing    15   be overrun or challenged.
 16    the CHOP was much, much more complicated and required,     16          And so that was something we actually had to
 17    you know, hundreds of officers to be trained, and City     17   plan for. And my recollection is, is that the police
 18    workers.                                                   18   had raised this as something that they would have to do
 19           But the decision on -- when the police              19   in order to make sure that the precinct was secure.
 20    department made the decision that they would temporarily   20          And so I don't know if this is what
 21    leave the precinct, it required them to take other         21   Mr. Sixkiller was doing, but it would have been my
 22    actions, including the removal of sensitive information    22   expectation that in sharing their full plan with him or
 23    and things like guns and ammunition.                       23   our office, that they would have included that in their
 24             (Exhibit No. 3 marked.)                           24   planning.
 25    ////                                                       25       Q. Do you recall in those discussions, either on


                                                                                         26 (Pages 101 to 104)
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  1    June 7th or June 8th, discussions about whether the         1   Center.
  2    police should evacuate, either partially or entirely        2       Q. When did you first learn that the Seattle
  3    personnel from the East Precinct?                           3   Police Department had, in fact, evacuated personnel from
  4        A. So on the 7th, we had a discussion related to        4   the East Precinct?
  5    the precinct in my office with Chief Best and command       5       A. I did not learn that they had evacuated
  6    staff, where we were looking at what certain options        6   everyone until later that evening, after it had
  7    might be, but it was also for us to be briefed by the       7   occurred. There was an interim -- as I understood it,
  8    FBI on what the threat to the East Precinct was or could    8   the plan had been that once the -- once the decision --
  9    be.                                                         9   the people -- to remove the barriers, then people wanted
 10           And in that discussion, there was, you know --      10   to protect against some of those cascading impacts that
 11    there was discussions about if -- again, if the police     11   we just discussed.
 12    had to leave the precinct, as they did in some other       12          And so the police department's plan, as I
 13    cities, or if the precinct, you know, was targeted with    13   understood it, was to remove the most confidential
 14    fire or other things, what would have to happen.           14   information, weapons and the like, and -- from the
 15           And one of the things that was mentioned in         15   precinct, that they were going to build a fence around
 16    that is obviously, if you've got a police station that     16   the precinct that would be outside the sidewalk area to
 17    has, you know, guns and ammunition and confidential        17   have a perimeter protection around the precinct, that
 18    information and the like, you have to have a plan to       18   they were going to foam the building down with fire foam
 19    remove that, if you think that -- that any of those        19   to prevent against the risk of fire, and that they then
 20    incidents could occur and the police have to be out of     20   did outreach also to the adjacent buildings to make sure
 21    the precinct.                                              21   that they were prepared.
 22        Q. Okay. Were there discussions on June 7th or         22          It's my understanding -- again, I was not part
 23    June 8th that you were involved in about whether to --     23   of the discussions -- that once they went to do that,
 24    the police should evacuate personnel, either entirely or   24   they determined they could not erect the fence where
 25    in part from the East Precinct, in addition to other --    25   they intended because of -- I don't know what the issues


                                                   Page 106                                                        Page 108
  1   in addition to materials?                                    1   were, but they couldn't, and instead had to attach
  2       A. Yeah, I think if you're talking about when the        2   basically the fence directly to the building, which then
  3   actual decisions were made and June 8th to -- to             3   impacted the ability to get in and out of the building
  4   temporarily leave the precinct, I was not involved in        4   safely.
  5   the discussions that occurred that day.                      5          They also determined they couldn't foam the
  6         I got periodic reports on where we were, but it        6   building down because the foam didn't work that day.
  7   was my understanding that there was -- that the plan         7   And as I now understand it, and did not at the time, the
  8   evolved over time, and that the original plan was            8   police commander made the decision that, if there was a
  9   actually to keep personnel in place and take some other      9   risk to the personnel in the building, and he didn't
 10   steps to protect the personnel.                             10   think that they could assure that they could themselves
 11         But when that wasn't -- when the police               11   evacuate safely should something happen, it would be
 12   commanders who were there made the decision that they       12   better to move them out of the building temporarily,
 13   couldn't do that and adequately protect the officers,       13   stage them nearby so they could respond to any police
 14   they made the decision that they would temporarily          14   need, and then come back into the building, you know,
 15   leave, stage nearby so they could respond, with the         15   once the protests dissipated.
 16   intent of returning, you know, after the protests had       16       Q. When you found out on the evening of June 8th
 17   dissipated, which was usually about, you know, 2:00,        17   the police department had evacuated personnel from the
 18   3:00 in the morning most of the evenings.                   18   East Precinct, were you concerned about long-term
 19       Q. So were you -- were you involved in any              19   difficulties in getting the police back into the
 20   discussions about whether to evacuate personnel from the    20   precinct?
 21   East Precinct on June 8th?                                  21       A. On the 8th, no. And again, it was -- you know,
 22       A. No, I was not. I -- I -- I got periodic              22   there was a period of time in there that we thought that
 23   reports, but there was a meeting that was had between       23   they had left kind of a skeleton crew. When I learned
 24   Chief Best and the command staff and some people in my      24   that they had made the decision to -- to remove everyone
 25   staff and other departments at the Emergency Operations     25   there temporarily, what I was also told was, the plan


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  1    out of that area, out of the Capitol Hill and Cal           1       Q. Did I not hear you say earlier -- and correct
  2    Anderson area, without the assistance of the police         2   me if I'm wrong -- that you were concerned about sending
  3    department.                                                 3   the message to people that you were going to clear them
  4          In order for the police department to be able         4   out, and you wanted to make sure you weren't sending
  5    to assist in that, a couple different things had to         5   that message because you were worried what their
  6    happen. First, the reality was, these protests were         6   reaction might be?
  7    against the police, directly against the police, and        7       A. No, that's -- that's not what I said at all. I
  8    police presence in that area led to escalation of events    8   said that the -- the reality was -- you asked me about
  9    and made it more volatile, not less volatile. So we had     9   whether the Seattle Department of Transportation was
 10    to reduce the profile as much as we could, and the         10   getting pushback from protesters, and the answer to that
 11    number of people, until there was a time when Seattle      11   was yes.
 12    police could lead the event.                               12         And part of that pushback from those actions
 13          Second, we need to de-escalate what was              13   was them thinking this was the prelude to pushing
 14    happening in there, period, and get some kind of statis    14   everyone out, and that might escalate. So we had to be
 15    involved, and then move people. In a sense maintain,       15   very cautious to make sure that each step we were
 16    you know, the s-t-a-t-i-s, not u-s.                        16   taking, we were achieving our goals, and at the same
 17          So -- so this reflects our reality of, okay, we      17   time not either escalating it for the people who were
 18    can't do this overnight. It is incredibly dynamic and      18   there, or, frankly, calling more people to come, which
 19    complicated. And even when we got to the point that we     19   was, you know, the stated purpose of other people who
 20    did do it, you know, Mr. Weaver, I can't tell you enough   20   were trying to get more people to the area. We were
 21    how complicated that was to marshal that many police       21   trying to do the opposite.
 22    officers without the benefit that we normally would have   22       Q. Okay. Can you -- can you point -- can you tell
 23    of mutual aid of other police departments, because other   23   me, if you recall, any specific statement you made prior
 24    police departments did not want to come assist, having     24   to June 22, 2020, to the public in any interview,
 25    to take those people off -- off their regular rotation     25   anything, where you indicated that you wanted people to


                                                   Page 162                                                         Page 164
  1    to get them trained on Judge Jones' order and what their    1   move out and that CHOP needed to have a definite ending?
  2    plan would be, to have the Seattle Department of            2             MR. HARRIGAN: Objection. Multiple and
  3    Transportation be ready with heavy machinery and            3   vague.
  4    employees, and get them scheduled on a shift, to have       4        A. I don't think it's really possible for me to go
  5    Parks employees the same, all in the middle of a global     5   through every single statement, but I will tell you, I
  6    pandemic, when our City workers were already stretched      6   think that my statements were actually very consistent,
  7    really thin.                                                7   and the actions of the City were very consistent, if you
  8          And so this was something that took                   8   look.
  9    extraordinary amount of planning and preparation. And       9          I had a number of community meetings with
 10    leading up to that, before we could even begin that        10   community-based organizations, including like the Black
 11    operation, we had to have a place that would be            11   clergy and others, to see if they could help us
 12    successful for the police to operate.                      12   intercede to get people to leave. That was over the
 13          And that meant trying to de-escalate, have as        13   whole duration. We were trying to find different
 14    few people there as possible, and show that we, as the     14   approaches throughout.
 15    City, were listening to the protests so that they          15          So I -- you know, I -- I do believe that we
 16    wouldn't escalate for other reasons.                       16   were very consistent in both what I was saying and also
 17          And again, against the backdrop of -- I was          17   what the City was doing to really do what I said, which
 18    really very fearful, as mayor, that the posture that the   18   is, look, we've talked about how challenging that
 19    president was taking during this period of time, and       19   operation was to plan. It was very successful, and I
 20    threatening to send in troops and agents itself was        20   think it is proof that the work we did before that
 21    going to escalate the situation.                           21   actually gave us the ability to do what was needed to be
 22          So this -- this took an extraordinary amount of      22   done.
 23    coordination, and I think this document reflects from      23             (Exhibit Nos. 10-11 marked.)
 24    the earliest days, we were really coordinating across      24   BY MR. WEAVER:
 25    departments to see how we could get through each step.     25       Q. Okay. Could you look at Exhibit 9? It's



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  1    lived out of the state, but I grew up in the area and       1   come dominate the streets. And so that had a
  2    then returned.                                              2   significant chance of escalating things in our city and
  3         Q. I mean, are you aware of any other time that a      3   in and around Capitol Hill.
  4    portion of Capitol Hill was declared an autonomous zone     4          So the first part of the interview was, look,
  5    by a group of protesters?                                   5   we know that this is wrong. We know we have to
  6         A. No. But there's been extended periods of time       6   de-escalate. We believe, as a City, that you can
  7    where Capitol Hill was the subject of long-term protest     7   balance the interests that we've talked about here
  8    activity and marches. And as I said, other areas of the     8   today, that you can have First Amendment protests, and
  9    city -- we had two areas of the city occupied for a very    9   at the same time protect public safety.
 10    long period of time, Beacon Hill School, and -- which is   10          And I think the answer that you cite, the
 11    now Daybreak Star, which was then Fort Lawton. And so      11   summer of love, my next sentence says, but, Chris, it's
 12    it is not out of the experience of our city to have        12   really important. We know we need to protect public
 13    those protests over a period of time.                      13   safety, or something like that.
 14           You know, we had the Occupy protests in the --      14          And so it was my -- it was -- he asked when is
 15    it was when I was U.S. attorney, because they occupied     15   it going to happen. I think my response was, I don't
 16    the street behind my office for many, many, many, many     16   know. And then I used the inartful phrase, you know,
 17    days.                                                      17   maybe we'll have a summer of love, but that was
 18           And so there's been various times in our city       18   trying -- again, it was a really bad and inartful way to
 19    and other cities where there are protests that become      19   try to say the depiction of what's happening isn't
 20    long-term protests. At the beginning of this, you know,    20   accurate, and that we know -- because I think it's the
 21    we did not kind of know what the future would be because   21   next sentence -- I mean, you've probably read the
 22    we had to be in a position, again, to be where before we   22   transcript and have it, but I think I immediately pivot
 23    could deal with these protesters safely and balancing      23   to say, but seriously, Chris, we know that we've got to
 24    the interest, respecting the absolute right, First         24   balance public safety.
 25    Amendment right, to protest against the public safety      25   ////


                                                   Page 182                                                        Page 184
  1    and public health issues at the time for -- for the         1   BY MR. WEAVER:
  2    protesters, for the residents, for the visitors, for the    2        Q. So you do remember referring to the summer of
  3    businesses.                                                 3   love, or the potential for summer of love in Seattle?
  4            So all of those things we knew we were              4        A. Again, I think my answer was, it's a little
  5    navigating, but at this moment in time, I thought it was    5   more complete that -- that he asked how long is it going
  6    important that we not lose sight that what was being        6   to happen? I said I don't know. I then used the really
  7    depicted nationally just wasn't accurate, nor was this      7   inartful phrase, "could have a summer of love," to try
  8    something that was necessarily outside the ken of what      8   to depict that it's not going to be what the president
  9    we've dealt with as a city before.                          9   has represented it as, is -- is anarchy and fires and
 10        Q. Do you recall an interview with Chris Cuomo on      10   the like, but then also immediately said, but we also
 11    CNN on June 12, 2020?                                      11   know we have these duties with regard to public safety
 12        A. I do.                                               12   that we take very seriously.
 13        Q. Do you recall that he asked you how long CHOP       13        Q. So do you believe in the totality of your
 14    would be allowed to persist? He may have said CHAZ at      14   comments during that interview you conveyed to the
 15    that point; I don't remember.                              15   public, that you were going to move protesters out soon?
 16            And your response was, "We could have a summer     16             MR. HARRIGAN: Object to the form.
 17    of love"? Do you recall that?                              17        A. I think if you look at -- again, we were not,
 18              MR. HARRIGAN: Object to the form.                18   at that juncture, able to say we could do that because
 19        A. Yeah, I think -- I think my answer was actually     19   the truth was, we could not do that until the Seattle
 20    a little different than that, and -- and that's not the    20   Police Department could lead an operation. Because we
 21    complete answer. And again, I think, if you look at        21   couldn't have an operation that successfully would reach
 22    that whole interview, most of the interview was about      22   that goal until they could.
 23    the fact that Donald Trump said he was going to send the   23          And again, you know, until this time, as again,
 24    military into Seattle, and that we -- if we didn't take    24   it's a phased approach, we knew we had to try to
 25    care of it, he was going to take care of it and he would   25   de-escalate and calm things down. We then had to try to


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  1    shrink the number of people who were there at the same      1          At the same time the Seattle Police Department
  2    time that the Seattle Police Department had to come up      2   has to come up with a plan that will work, and we have
  3    with a plan that they thought could work, because we        3   to rally all those other departments around it.
  4    knew from experience, watching that when the police         4   BY MR. WEAVER:
  5    entered that area, it could escalate things immediately     5       Q. As of -- when do you understand the Seattle
  6    because they were protests against the police.              6   Police Department came up with its plan to move people
  7          And we had just finished -- remember, this came       7   out of the area?
  8    about because of a nightly skirmish at that police line     8       A. So the final plan was shortly before July 1. I
  9    between police and protesters. And so we had to be          9   think one of those other exhibits you showed me, you
 10    realistic, and I had to really rely on the judgments of    10   know, the first briefing they were giving me was right
 11    Chief Best and her command staff on how and when they      11   around June 20th, which indicates, you know, they had to
 12    could be ready. Because it also involves so many other     12   be working for days and days before that.
 13    departments. So no, at that time, I could not say we       13          And so that -- that was the first -- and it was
 14    would move people out quickly because we had to first      14   iterative because we had to both assess not only what
 15    make sure we could do that.                                15   the department could do, but it changed. It changed,
 16    BY MR. WEAVER:                                             16   one, because Judge Jones entered his order on what --
 17       Q. Do you recall giving any indication, in that         17   what tools and procedures you could use if there were
 18    interview or any other interview during that first week,   18   protesters, and so they had to train on what the
 19    week and a half of CHOP, that there would be a deadline    19   contours of that order were.
 20    by which the area would be cleared out?                    20          You had to take people off their shifts in
 21             MR. HARRIGAN: Objection to the form.              21   order to train them, and then they had to then -- when
 22       A. No. Because it -- and I think, as we've said         22   they came up with the actual operational plan, it's my
 23    here today, we couldn't set a deadline. I think it's       23   understanding -- I didn't participate in it. You know,
 24    really important that, number one, if you set a deadline   24   they actually go off-site and plan who's the first line?
 25    and say, everyone out by X date or we're going to push     25   Who's the second line? What do the next ones do?


                                                   Page 186                                                        Page 188
  1    you out, experience would tell us, you're going to          1          And then they have to coordinate with the
  2    invite more people to come because that is typically        2   Seattle Department of Transportation to bring in dozens
  3    what happens. It's what happened in Portland night          3   of trucks and employees, the Parks Department, the
  4    after night after night during the same period of time.     4   Seattle Public Utilities Department.
  5           And so what you had to do, we thought, using         5          You know, it was a monumental undertaking that
  6    our best judgment as a City, is to take a phased            6   was -- you know, at various stages, they were planning
  7    approach that was based on the reality of the               7   the various contours of it, and then they had to look at
  8    circumstances.                                              8   it to say, will this work? Will this not work? How do
  9           So in the beginning, when the protesters stayed      9   we address this, how do we address that.
 10    in the Capitol Hill area, we first had to make sure that   10        Q. You know, I think you've made clear in more
 11    we were protecting the safety of the protesters,           11   than one -- more than one answer that it was
 12    balancing the public health interest, also protecting      12   complicated.
 13    the public safety and benefits for the residents and       13          When do you recall first hearing a plan from
 14    businesses, while we were thinking, how do we, you know,   14   the Seattle Police Department as to how they were going
 15    change the profile?                                        15   to go ahead and move people out? If you don't remember,
 16           So one of the first things -- one of the other      16   you can say you don't remember.
 17    exhibits you showed me, you know, SDOT trying to go in     17        A. I don't remember the first day that there was a
 18    and remove all the barriers we could, the bike racks,      18   plan, but from the very beginning, Seattle Police
 19    the this, the that, so that we could reduce the ability    19   Department was assessing what was happening on the
 20    of those to be -- so again, a really phased approach,      20   ground and whether they thought it would be safe for
 21    make sure that we could de-escalate it as much as          21   them to go into the East Precinct. And that was
 22    possible, really be attentive to the public health and     22   connected with obviously you can't return to the East
 23    safety needs, and then work with as many community-based   23   Precinct unless you have a plan for the area.
 24    organizations and City people as we could, to get in       24          And so those -- those discussions literally
 25    there to try to address and get people out of the park.    25   started on the 8th, you know, not in great detail, but


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   1    4:55 p.m.
   2           (Deposition concluded at 4:55 p.m.)
   3           (Reading and signing was requested
   4            pursuant to FRCP Rule 30(e).)
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                                                   Page 274
  1              CERTIFICATE
  2
  3    STATE OF WASHINGTON
  4    COUNTY OF PIERCE
  5
  6          I, Cindy M. Koch, a Certified Court Reporter in
  7    and for the State of Washington, do hereby certify that
  8    the foregoing transcript of the deposition of Jenny A.
  9    Durkan, having been duly sworn, on December 8, 2021, is
 10    true and accurate to the best of my knowledge, skill and
 11    ability.
 12          IN WITNESS WHEREOF, I have hereunto set my hand
 13    and seal this 29th day of December, 2021.
 14
 15
 16
 17                ____________________________
 18                CINDY M. KOCH, CCR, RPR, CRR
 19
 20    My commission expires:
 21    JUNE 9, 2022
 22
 23
 24
 25



                                                                       69 (Pages 273 to 274)
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